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                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
 In re      Isaac Hammett                                                                                        Case No.    12-78142-BEM
                                                                                   Debtor(s)                     Chapter     13

                                                               FIRST AMENDED CHAPTER 13 PLAN

Extension                                                                                           Composition

         You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy
Court may modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the
collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion of
future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $615.00 Monthly to Trustee by Payroll Deduction(s) or by
Direct Payment(s) for the applicable commitment period of 36 months, unless all allowed claims in every class, other than long-term
claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§
1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-confirmation adequate protection
payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

            The following alternative provision will apply if selected:

                IF CHECKED, Plan payments will increase by $                    in month       upon completion or termination of   .

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An allowed proof
of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth below,
unless the holder of such claim or expense has agreed to a different treatment of its claim.

            (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the United States
Trustee.

          (B). Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to a base attorney fee in the amount of $3,950.00
for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $ was paid prior to the filing of
the case. The balance of the fee shall be disbursed by Trustee as follows: (1) Upon the first disbursement of the plan following
confirmation of a Plan, the Trustee shall disburse to Debtor's attorney from the proceeds available and paid into the office of the
Trustee by Debtor or on Debtor's behalf, up to $ 3.950.00 after the payment of adequate protection payments and administrative
fees. The remaining balance of the fees shall be paid up to $ 418.00 per month until the fees are paid in full; (2) If the case is
dismissed or converted prior to confirmation of the plan, the Trustee shall pay fees to Debtor's attorney from the proceeds available
and paid into the office of the Trustee by Debtor or on Debtor's behalf, all funds remaining, not to exceed $ 3,950.00 , after
payment of any unpaid filing fees, Trustee's fees and expenses, and adequate protection payments, if applicable. Debtor and Debtor's
attorney have further agreed that Debtor's attorney may be paid for Non-Base Services as they are performed on an as-needed basis.
Non-Base Services are listed in paragraph 6 of the Rule 2016(b) Disclosure of Compensation of Attorney for Debtor. Upon
completion of a Non-Base Service, Debtor's attorney may file an application with the Court, serving all parties-in-interest with notice
of the application and providing an opportunity to be heard requesting the approval of fees related to Non-Base Services rendered
("Application"). If no timely objection to the Application is filed, the Application will be deemed unopposed without further notice or
hearing. If the Non-Base Service fee is approved by the Court, the approved fee is to be added to the balance of the unpaid Base Fee
in the case and is to be paid pursuant to this paragraph 4(B). If the Base Fee has been paid in full, the Non-Base Services Fee shall be
paid up to $418.00 per month, and distributions to creditors shall be reduced pro rata by that amount until the additional fee is paid in
full.




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5. Priority Claims.

            (A). Domestic Support Obligations.

    None. If none, skip to Plan paragraph 5(B).

                         (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

                         (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                         101(14A) and 1302(b)(6).

                             -NONE-

                         (iii). Anticipated Domestic Support Obligation Arrearage Claims

                             (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full
                             pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by personal
                             property, arrearage claims secured by real property, and arrearage claims for assumed leases or executory
                             contracts.

    None; or

 (a)                                                                                                (b)                                         (c)
 Creditor                                                                          Estimated arrearage                 Projected monthly arrearage
 (Name and Address)                                                                              claim                                    payment
 -NONE-



                             (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned
                             to, owed to, or recoverable by a governmental unit.

    None; or
                                Claimant and proposed treatment:               -NONE-

           (B). Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but will not be funded until
after all secured claims, lease arrearage claims, and domestic support claims are paid in full.

 (a)                                                                                                                                              (b)
 Creditor                                                                                                                            Estimated claim
 -NONE-

6. Secured Claims.

            (A). Claims Secured by Personal Property Which Debtor Intends to Retain.

                         (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of filing of this plan or the
                         order for relief, whichever is earlier, the Debtor shall make the following adequate protection payments to creditors
                         pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection payments on allowed claims to
                         the Trustee pending confirmation of the plan, the creditor shall have an administrative lien on such payment(s),
                         subject to objection. If Debtor elects to make such adequate protection payments directly to the creditor, Debtor
                         shall provide evidence of such payment to the Trustee, including the amount and date of the payment.




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                         Debtor shall make the following adequate protection payments:

                             directly to the creditor; or

                             to the Trustee pending confirmation of the plan.

                                                                                                                                                (c)
 (a)                                                           (b)                                                             Adequate protection
 Creditor                                                      Collateral                                                         payment amount
 Ally                                                          HHR Chevy                                                                  $100.00


                         (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal
                         property shall be paid as set forth in subparagraphs (a) and (b). If the Debtor elects to propose a different method of
                         payment, such provision is set forth in paragraph (c).

                             (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts
                             secured by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of
                             filing the bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred
                             within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of
                             each allowed secured claim the monthly payment in column (f) based upon the amount of the claim in column
                             (d) with interest at the rate stated in column (e). Upon confirmation of the plan, the interest rate shown below or
                             as modified will be binding unless a timely written objection to confirmation is filed and sustained by the Court.
                             Payments distributed by the Trustee are subject to the availability of funds.

                                 None; or

                                                                                     (c)                   (d)                                 (f)
 (a)                                 (b)                                          Purchase              Claim       (e)                   Monthly
 Creditor                            Collateral                                     date               amount  Interest rate              payment
                                                                                                                                $100 to step up to
 Ally                                HHR Chevy                                      2010              $23,140        5%          $518 in Oct 2013

                             (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims
                             secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the
                             Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
                             replacement value as stated in column (d) or the amount of the claim, whichever is less, with interest at the rate
                             stated in column (e). The portion of any allowed claim that exceeds the value indicated below will be treated as
                             an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown below or as modified
                             will be binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments
                             distributed by the Trustee are subject to the availability of funds.

                                 None; or


                                                                                     (c)                 (d)                                       (f)
 (a)                                 (b)                                          Purchase      Replacement       (e)                         Monthly
 Creditor                            Collateral                                     date               value Interest rate                    payment


                             (c). Other provisions.




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          (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage
payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments, which
may be adjusted up or down as provided for under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter, unless this Plan provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate
indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if the creditor requests interest, unless an objection
to the claim is filed and an order is entered disallowing the requested interest.

                                               (b)                                                              (c)                            (d)
 (a)                                           Property                                     Estimated pre-petition               Projected monthly
 Creditor                                      description                                              arrearage                arrearage payment
 Rushmore Loan Managment
 Services                                      Residence                                                 $3,400.00                                       $60

          (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the
petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is surrendered will be treated as
unsecured. Any involuntary repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed motion and Court
order, unless the automatic stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for
the collateral identified below for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess, foreclose
upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to abrogate Debtor's state law contract
rights.

 (a)                                                                              (b)
 Creditor                                                                         Collateral to be surrendered
 Santander                                                                        2006 PT Cruiser

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 10 is
$ 17481.00 . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro rata
share of $ 0.00 or 0 %, whichever is greater. Trustee is authorized to increase this dollar amount or percentage, if necessary, in order
to comply with the applicable commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and payments due
after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column (c).

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts projected in
column (d) at the same time that payments are made to secured creditors. All other executory contracts and unexpired leases of personal
property are rejected upon conclusion of the confirmation hearing.

    None; or

                   (a)                                           (b)                        (c)                               (d)
                 Creditor                                 Nature of lease or        Payment to be paid      Projected arrearage monthly payment
                                                          executory contract        directly by Debtor    through plan (for informational purposes)
 -NONE-

9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case,
unless the Court orders otherwise.

10. Other Provisions:

            (A). Special classes of unsecured claims.

            (B). Other direct payments to creditors.

            (C). Any creditors which are to be paid directly under this plan are authorized and encouraged to send monthly billing
                 statements to the debtor(s) at the mailing address on record with the Bankruptcy Court in this case.




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            (D). Other allowed secured claims: A proof of claim which is filed and allowed as a secured claim, but is not treated
                 specifically under the plan, shall be funded with 0 % interest as funds become available after satisfaction of the allowed
                 secured claims which have been treated by the plan and prior to payment of allowed non-administrative priority claims
                 (except domestic support obligation claims as set forth in paragraph 5(A), above) and general unsecured claims.
                 Notwithstanding the foregoing, the Debtor or any other party in interest may object to the allowance of the claim.

            (E). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f): The allowed secured claim of each creditor listed below
                 shall not be funded until all allowed, secured claims which are being treated by the plan are satisfied. If an order is entered
                 avoiding the creditor's lien, that creditor's claim shall be treated as a general, unsecured claim to the extent it is not otherwise
                 secured by property of the estate and treated by the plan. To the extent that the creditor's lien is not avoided and is not
                 otherwise treated by the plan, the secured claim shall be funded as set forth in the above paragraph. This paragraph shall
                 apply to the following creditors:
                   -NONE-
            (F). Any tax refund that is issued to the Debtor(s) during the applicable commitment period shall be paid into the
                 Chapter 13 case. Further, the Debtor(s) instructs and authorizes the Internal Revenue Service or any other
                 applicable tax agency to send any refund issued during the applicable commitment period directly to the Chapter
                 13 Trustee for the years 2011, 2012, and 2013. Upon written request to the Chapter 13 Trustee, Debtors may
                 retain up to $1500.00 of a tax refund without a motion being filed.

            (G). Other provisions.


                  Any fees, expenses, and charges asserted under Fed. R. Bankr. P. 3002.1(c) are not to be funded
                  through the Chapter 13 plan. The Debtor(s) will pay these post-petition expenses directly to the
                  mortgage holder/servicer unless they are disallowed by order of the Court.



 Date             January 23, 2013                                       Signature   /s/ Isaac Hammett
                                                                                     Isaac Hammett
                                                                                     Debtor
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